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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

 

OFI RISK ARBITRAGES, OFI RISK ARB
ABSOLU and TIMBER HILL LLC,
individually and on behalf of all others
similarly situated,

Plaintiffs,
Vv.

COOPER TIRE & RUBBER COMPANY, ROY

ARMES and BRADLEY HUGHES,

Defendants.

C.A. No. 14-00068 LPS

CLASS ACTION

 

 

DECLARATION OF DAVID J. MARGULES IN SUPPORT OF MOTION OF
OFI ASSET MANAGEMENT AND TIMBER HILL LLC FOR APPOINTMENT AS
LEAD PLAINTIFF AND APPROVAL OF THEIR SELECTION OF LEAD COUNSEL

OF COUNSEL:

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Counsel for Proposed Lead Plaintiff OF]
Asset Management and Timber Hill LLC and
Proposed Lead Counsel for the Class

Dated: March 18, 2014

David J. Margules (Bar No. 2254)

Albert J. Carroll (Bar No. 5316)

BOUCHARD MARGULES &
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(302) 573-3500

Liaison Counsel for Proposed Lead Plaintiff
OF! Asset Management and Timber Hill LLC
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I, David J. Margules, declare as follows:

l. I am a member in good standing of the bars of the State of Delaware and of this
Court. I am a partner in the law firm of Bouchard Margules & Friedlander, P.A. I submit this
declaration in support of the Motion filed by OFI Asset Management and Timber Hill LLC
(“Timber Hill”) for: (1) appointment as Lead Plaintiff; (2) approval of their selection of
Bernstein Litowitz Berger & Grossmann LLP (“Bernstein Litowitz’”) and Entwistle & Cappucci
LLP (“Entwistle & Cappucci”) to serve as Lead Counsel for the Class; and (3) any such further
relief as the Court may deem just and proper.

2. Attached as Exhibits A through F are true and correct copies of the following

documents:
EXHIBIT A: Certifications of OFI Asset Management and Timber Hill;

EXHIBIT B: Charts of transactions and losses of OFI Asset Management and
Timber Hill;

EXHIBIT C: Notice of Pendency of OF! Risk Arbitrages v. Cooper Tire &
Rubber Company, No. 1:14-cv-00068-LPS (D. Del.), published on

January 17, 2014;

EXHIBIT D: Pipefitters Local 537 Annuity Fund v. Wilmington Trust Corp., No.
1:10-cv-00990, slip op. (D. Del. Mar. 7, 2011), D.I. 26;

EXHIBIT E: Firm Résumé of Bernstein Litowitz; and

EXHIBIT F: Firm Résumé of Entwistle & Cappucci.
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I declare, under penalty of perjury, that the foregoing is true and correct to the best of my

knowledge.

 

  
 

David J. ar No, 2254)

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FRIEDRANDER, J7.A.

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Attorney for Plaintiff OFT Asset Management
and Timber Hill LLC

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